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                 4                               UNITED STATES DISTRICT COURT
                 5                                      DISTRICT OF NEVADA
                 6                                                  ***
                 7    UNITED STATES OF AMERICA,                            Case No. 2:18-CR-29 JCM (VCF)
                 8                                         Plaintiff(s),                    ORDER
                 9           v.
               10     DWAYNE MARTIN,
               11                                        Defendant(s).
               12
               13            Presently before the court is Dwayne Martin’s (“defendant”) motion to suppress. (ECF
               14     No. 30). The United States of America (“the government”) filed a response (ECF No. 36), to
               15     which defendant replied (ECF No. 39). After a hearing on the motion (ECF Nos. 43; 50),
               16     defendant filed a supplemental brief (ECF No. 51). The government responded (ECF No. 51),
               17     and defendant replied with leave of the court (ECF Nos. 57; 58).
               18            Also before the court is Magistrate Judge Ferenbach’s report and recommendation
               19     (“R&R”) denying the motion to suppress. (ECF No. 58). Defendant objected (ECF No. 62), to
               20     which the government responded. (ECF No. 63).
               21            Also before the court is defendant’s motion for leave to file a reply. (ECF No. 64). The
               22     government did not respond, and the time to do so has passed.
               23     I.     Background
               24            Defendant is charged with being a felon in possession of a firearm in violation of 18
               25     U.S.C. §§ 922(g)(1) and 924(a)(2). (ECF No. 1). Defendant moves to suppress all evidence
               26     obtained from a search of his bedroom, arguing that both his arrest and the search were unlawful
               27     and that the search warrant is invalid. (ECF No. 30). Although defendant does not object to
               28     Judge Ferenbach’s factual findings, he challenges the probable cause determination, which is a

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                1     factual inquiry. (ECF No. 62). Thus, the court finds it necessary to review the facts that led to
                2     defendant’s arrest, the warrant application, and the resultant search.
                3            On the evening of September 7, 2017, defendant’s ex-girlfriend, Kiera Washington,
                4     repeatedly called 911 to report that defendant had assaulted her, including hitting her over twenty
                5     times . (ECF Nos. 30-1 at 4; 58 at 2). When police arrived at the scene shortly after 7:00 p.m.,
                6     defendant fled and evaded the police. (ECF Nos. 30-1 at 4; 58 at 2; 62 at 1). Although there was
                7     some corroboration of Washington’s story—she had a scratch on her face and her hair extensions
                8     had been pulled out—her injuries were not entirely consistent with being hit twenty times. (ECF
                9     No. 30-1 at 4). Officer Hutchins, who responded to the scene and prepared a report, indicated
              10      that Washington “was inconsistent with her story and changed what she said a few times.” (ECF
              11      No. 28 at 2 (quoting ECF No. 30-1 at 4)). During the altercation, defendant broke Washington’s
              12      phone and took the keys to her apartment. (ECF No. 30-1 at 4).
              13             The next morning, Washington called 911 another three times. (ECF No. 58 at 2). At the
              14      evidentiary hearing in the instant motion, “the [c]ourt heard representations from the parties
              15      regarding the three calls and there is an issue of fact regarding whether Washington hung up and
              16      called back, if the call dropped, or whether there was a struggle prior to the disconnection.” Id.
              17      (citing ECF No. 50 at 16–17, 51–53, 78). Washington told officers, and the September 8 police
              18      report indicates, as follows:
              19                     Washington entered [her] apartment [at about 9:50 a.m.] and saw a
                                     gun on the counter described as a black gun, with a grey top and an
              20                     extended clip. He came out of the room with all her clothes,
                                     getting ready to leave out of the front door. She tried getting her
              21                     belongings back from [defendant] and [he] then punched
                                     [Washington] on her left forehead temple area with an open fist,
              22                     causing visible swelling. [Washington] then called 911 and on the
                                     way out of the apartment [defendant] pointed a gun stating, “I will
              23                     kill you, you police ass bitch, and I know where you and your
                                     mom live.”
              24
              25      (ECF No. 30-3 at 2).
              26             However, on the phone with 911, Washington indicated that her boyfriend, defendant,
              27      “was armed with a firearm outside the apartment.”              Id.   Although officers noted the
              28

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                1     inconsistencies, they—including Detective Stafford, the warrant affiant—believed her story.
                2     (ECF No. 58 at 8 (citing ECF No. 50 at 31)).
                3            Washington indicated that defendant’s friend or relative, Cheryl Cormack, lived at the
                4     nearby Tucumcari apartment complex. (ECF No. 62 at 3). When officers went to the complex,
                5     they found defendant’s car there. Id. Officers consulted with the leasing office determined that
                6     Jimmy Cormack—who, according to law enforcement databases, defendant had previously lived
                7     with—lived in unit 2048. (ECF Nos. 62 at 3–4; 63 at 3).
                8            The officers then conducted a purported “knock and talk” at unit 2048 to determine who
                9     lived in the apartment. (ECF Nos. 62 at 4; 63 at 3). The officers knocked on the door with their
              10      guns drawn, and Cheryl Cormack came to the door. (ECF No. 58 at 2). The officers lowered,
              11      but did not holster, their weapons, instructed Cormack to step outside, and asked if defendant
              12      was there. (ECF No. 62 at 4–5). Cormack said that he was and reentered the apartment. (ECF
              13      No. 63 at 3). Officers asked Cormack if they could enter the residence, and Cormack consented
              14      and waved them to come inside. Id. Defendant argues that Cormack did not, in fact, consent
              15      because inter alia the officers had their weapons drawn. (ECF No. 62 at 24–25).
              16             Cormack went to the bedroom door and knocked for defendant to come out. (ECF Nos.
              17      62 at 5; 63 at 4). When defendant stepped out of the bedroom, officers arrested him. (ECF No.
              18      63 at 4). Officers then froze the apartment and had the residents—Jimmy and Cheryl Cormack
              19      and Dezarae Bolden-Lear, defendant’s girlfriend—step outside. Id. All three residents indicated
              20      the defendant had not left the apartment that day or the night before. (ECF No. 62 at 7).
              21             With the apartment frozen, officers investigated the incident.          They interviewed
              22      Washington and conducted 16 knock and talks at Washington’s apartment complex. Id. Only
              23      one knock and talk at Washington’s apartment complex resulted in a witness indicating that he or
              24      she had heard an argument at the time of the 911 call, but not look to see who was involved and
              25      refused to give a statement.1 Id. at 7–8.
              26
              27             1
                                 Defendant contends that the other fifteen apartment residents “denied hearing anything
                      at all,” but the record does not indicate whether the officers were able to make contact with
              28      anyone at these apartments or what their statements entailed if officers made contact. (ECF No.
                      62 at 27).
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                1            Based on the information available to him, Detective Stafford applied for and received a
                2     telephonic search warrant.    (ECF No. 63 at 4).      Officers searched defendant’s room and
                3     uncovered a firearm that matched the description Washington had given. Id.
                4            Defendant moved to suppress the firearm, arguing that the warrant—and, consequently,
                5     the search—was invalid because (1) Cormack’s consent to enter the apartment was not voluntary
                6     and, thus, invalid; (2) Detective Stafford did not tell the issuing judge about Washington’s
                7     credibility issues; (3) Detective Stafford omitted information regarding the knock and talks at
                8     Washington’s complex; and (4) the knock and talk at Cormack’s apartment was improper
                9     because the officers intended to arrest defendant. (ECF Nos. 30; 39; 57; 62; 64). Judge
              10      Ferenbach recommends denying the motion (ECF No. 58), and defendant objects (ECF No. 62).
              11      II.    Legal Standard
              12             A party may file specific written objections to the findings and recommendations of a
              13      United States magistrate judge made pursuant to Local Rule IB 1-4. 28 U.S.C. § 636(b)(1)(B);
              14      LR IB 3-2. Where a party timely objects to a magistrate judge’s report and recommendation, the
              15      court is required to “make a de novo determination of those portions of the [report and
              16      recommendation] to which objection is made.” 28 U.S.C. § 636(b)(1). The court “may accept,
              17      reject, or modify, in whole or in part, the findings or recommendations made by the magistrate.”
              18      Id.
              19             Pursuant to Local Rule IB 3-2(a), a party may object to the report and recommendation of
              20      a magistrate judge within fourteen (14) days from the date of service of the findings and
              21      recommendations. Similarly, Local Rule 7-2 provides that a party must file an opposition to a
              22      motion within fourteen (14) days after service of the motion.
              23      III.   Discussion
              24             As an initial matter, the government did not oppose and the court grants defendant’s
              25      motion for leave to file a reply. (ECF No. 64); see LCR 47-3. The court now considers
              26      defendant’s motion to suppress, Judge Ferenbach’s R&R, and defendant’s objection.
              27             The Fourth Amendment protects “[t]he right of the people to be secure in their persons,
              28      houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

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                1     The United States Supreme Court created the exclusionary rule as “a deterrent sanction that bars
                2     the prosecution from introducing evidence obtained by way of a Fourth Amendment violation.”
                3     Davis v. United States, 564 U.S. 229, 231–32 (2011).
                4            “A police officer has probable cause to conduct a search when the facts available to [him]
                5     would warrant a person of reasonable caution in the belief that contraband or evidence of a crime
                6     is present.” Fla. v. Harris, 568 U.S. 237, 243 (2013) (citations, internal quotation marks, and
                7     brackets omitted).     This is a “practical and common-sensical standard” that requires
                8     consideration of “the totality of the circumstances.”2 Harris, 568 U.S. at 243 (citations omitted).
                9     This standard “is not reducible to ‘precise definition or quantification,’” and the Supreme Court
              10      has expressly “rejected rigid rules, bright-line tests, and mechanistic inquiries in favor of a more
              11      flexible, all-things-considered approach.” Id. at 243–44 (quoting Maryland v. Pringle, 540 U.S.
              12      366, 371 (2003)).
              13             There need only be “a fair probability that contraband or evidence of a crime will be
              14      found in a particular place” in order to support a finding of probable cause. Illinois v. Gates, 462
              15      U.S. 213, 214 (1983). “And the duty of a reviewing court is simply to ensure that the magistrate
              16      had a ‘substantial basis for . . . conclud[ing]’ that probable cause existed.”      Id. at 238–39
              17      (quoting Jones v. United States, 362 U.S. 257, 271 (1960)). “[T]his ‘substantial basis’ standard
              18      of review embodie[s] the great deference that should be shown by reviewing courts to
              19      magistrates’ probable cause determinations.” United States v. Seybold, 726 F.2d 502, 503 (9th
              20      Cir. 1984) (citation omitted).
              21             However, this court does not exhibit the same deference to the magistrate judge’s
              22      probable cause determination if there is a legal deficiency or error that requires the court to
              23      “correct” the warrant affidavit. United States v. Nora, 765 F.3d 1049, 1058 (9th Cir. 2014)
              24
                             2
                                Defendant notes that Washington retracted her statement in 2018. (ECF No. 62 at 9).
              25      But the court considers only the circumstances known to the officer at the time of the probable
                      cause determination; the benefit of hindsight should not and does not alter this analysis. Ornelas
              26      v. United States, 517 U.S. 690, 696 (1996) (“The principal components of a determination of
                      reasonable suspicion or probable cause will be the events which occurred leading up to the
              27      stop or search . . . .” (emphasis added)); cf. Graham v. Connor, 490 U.S. 386, 396 (1989)
                      (holding that “reasonableness” in the use-of-force context “must be judged from the perspective
              28      of a reasonable officer on the scene, rather than with the 20/20 vision of hindsight.”). Thus,
                      Washington’s 2018 retraction is immaterial to the finding of probable cause in 2017.
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                1     (“Thus, after excising the [illegally obtained evidence], [the court] must determine whether the
                2     remaining untainted evidence was sufficient to support issuance of the warrant. [The court]
                3     make[s] that determination without the usual deference owed to the magistrate’s initial finding of
                4     probable cause.”) (citation omitted). Here, defendant asserts that the warrant affidavit should be
                5     corrected pursuant to Franks v. Delaware, in which the Supreme Court held as follows:
                6                    [W]here the defendant makes a substantial preliminary
                                     showing that a false statement knowingly and intentionally, or
                7                    with reckless disregard for the truth, was included by the
                                     affiant in the warrant affidavit, and if the allegedly false
                8                    statement is necessary to the finding of probable cause, the
                                     Fourth Amendment requires that a hearing be held at the
                9                    defendant’s request. In the event that at that hearing the
                                     allegation of perjury or reckless disregard is established by
              10                     the defendant by a preponderance of the evidence, and, with
                                     the affidavit’s false material set to one side, the affidavit’s
              11                     remaining content is insufficient to establish probable cause,
                                     the search warrant must be voided and the fruits of the search
              12                     excluded to the same extent as if probable cause was lacking
                                     on the face of the affidavit.
              13
              14      Franks v. Delaware, 438 U.S. 154, 155–56 (1978).
              15             Defendant also argues that the warrant affidavit should be corrected to remove references
              16      to evidence or information obtained from the officers’ “knock and talk” at Cormack’s apartment.
              17      (ECF Nos. 51; 62). Ordinarily, “[a] government agents conducts a ‘search’ within the meaning
              18      of the Fourth Amendment when the agent infringes an expectation of privacy that society is
              19      prepared to consider reasonable or occupies private property for the purpose of obtaining
              20      information.” United States v. Lundin, 817 F.3d 1151, 1158 (9th Cir. 2016) (internal citations,
              21      quotation marks, and brackets omitted). The Fourth Amendment protects the curtilage of a home
              22      from encroachment by law enforcement officers. Id.
              23             However, law enforcement officers may “knock and talk” without violating the Fourth
              24      Amendment because residents impliedly invite the public to “approach the home by the front
              25      path, knock promptly, wait briefly to be received, and then (absent invitation to linger longer)
              26      leave.” Id. at 1159 (quoting Florida v. Jardines, 569 U.S. 1, 8 (2013)). This implied license
              27      allows law enforcement officers to do “no more than any private citizen might do.” Jardines,
              28      569 U.S. at 8. Thus, the knock and talk exception “is generally limited to the purpose of asking

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                1     questions of the occupants.” Lundin, 817 F.3d at 1159 (citation and quotation marks omitted).
                2     Accordingly, the Ninth Circuit expressly held that “[t]he ‘knock and talk’ exception to the
                3     warrant requirement does not apply when officers encroach upon the curtilage of a home with
                4     the intent to arrest the occupant.” Id. at 1160 (discussion Jardines, 569 U.S. at 8–10).
                5            The court first takes up the easier of the two questions: whether the omission of
                6     Washington’s credibility issues was material to the finding of probable cause and done in bad
                7     faith. The court finds that it was not. Before explaining how the court comes to this conclusion,
                8     the court emphasizes the relatively low standard for a finding of probable cause: “a fair
                9     probability that contraband or evidence of a crime will be found in a particular place.” Gates,
              10      462 U.S. at 214.
              11             As Judge Ferenbach noted in his R&R, Detective Stafford talked to the officers who had
              12      been on the scene, listened to the 911 calls, and interviewed Washington. (ECF No. 58 at 8
              13      (citing ECF No. 50 at 28)). Detective Stafford believed Washington’s story in good faith and,
              14      inconsistencies notwithstanding, testified that “[s]he was just able to describe the incident well
              15      enough that it sounded— it didn’t sound like it was fabricated to me.” Id. (quoting ECF No. 50
              16      at 31). Judge Ferenbach found, and the court agrees, that “Detective Stafford consistently and
              17      credibly testified regarding his impressions of Washington and he credibly testified that he
              18      worked quickly to obtain a warrant. The [c]ourt finds that Detective Stafford did not deliberately
              19      or recklessly make any false statements or material omissions.” Id.
              20             Defendant has not shown that Detective Stafford omitted Washington’s credibility issues
              21      from the telephonic warrant application in bad faith or with reckless disregard for the truth.
              22      Indeed, there was evidence to support Detective Stafford’s conclusion and his warrant
              23      application.   Detective Stafford noted that the physical evidence—scratches and pulled out
              24      hair—supported Washington’s story. There was a car chase involving defendant’s vehicle on
              25      September 7. There was a witness who confirmed that there was an altercation at the time of the
              26      911 calls on September 8.        And Detective Stafford included mitigating evidence in his
              27      application: “Three other residents at apartment 2048 were interviewed. All three said Martin
              28      never left the residence today or last night.” (ECF No. 62 at 9).

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                1            At most, the omission of Washington’s credibility issues would be negligent.             But
                2     “[a]llegations of negligence or innocent mistake are insufficient” for the reviewing court to strike
                3     or supplement the affidavit. Franks, 438 U.S. at 171. Accordingly, the court find that the
                4     warrant affidavit need not be supplemented or corrected on the basis of omissions or falsity. The
                5     warrant application supports a finding of probable cause.
                6            The court now turns to the much closer question: whether the knock and talk at
                7     Cormack’s apartment was, in fact, a valid knock and talk. Although defendant’s challenges to
                8     the warrant and search have evolved over the course of the briefing, the parties appear to agree
                9     that “Cormack’s confirmation of the [d]efendant’s presence within the apartment established the
              10      ‘nexus’ between Unit 2048 and the crime . . . .”        (ECF No. 63 at 9 (citing ECF No. 51
              11      (defendant’s supplemental brief) at 23–25)).
              12             Judge Ferenbach found and the government now argues that the officers knocked on the
              13      door for an investigatory purpose, i.e., to determine whether defendant was in the apartment.
              14      (ECF Nos. 58 at 6; 63 at 9). Defendant argues, not unjustifiably, that “a purpose” of the knock
              15      and talk was to arrest him, thereby invalidating the knock and talk entirely. (ECF No. 62 at 23
              16      (emphasis in original)). However, the court finds that the officers did not run afoul of Lundin by
              17      knocking on the door with the intent of asking Cormack questions—chiefly, whether defendant
              18      lived there. The court’s determination requires a close reading of the Ninth Circuit’s holding in
              19      Lundin:
              20                     The “knock and talk” exception to the warrant requirement does
                                     not apply when officers encroach upon the curtilage of a home
              21                     with the intent to arrest the occupant. Just as “the background
                                     social norms that invite a visitor to the front door do not invite him
              22                     there to conduct a search,” those norms also do not invite a visitor
                                     there to arrest the occupant. We do not hold that an officer may
              23                     never conduct a “knock and talk” when he or she has probable
                                     cause to arrest a resident but does not have an arrest warrant.
              24                     An officer does not violate the Fourth Amendment by approaching
                                     a home at a reasonable hour and knocking on the front door with
              25                     the intent merely to ask the resident questions, even if the
                                     officer has probable cause to arrest the resident.
              26
              27      Lundin, 817 F.3d at 1160.
              28

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                1            The Ninth Circuit expressly allowed for knock and talks when officers have probable
                2     cause to arrest the resident but the purpose of the knock and talk was to ask questions of the
                3     resident. The instant knock and talk falls is one such instance. In the pre-knock briefing, “[t]he
                4     officer in command . . . informed the officers that they would conduct a knock and talk at Unit
                5     2048 ‘to identify who’s in there,’ and . . . ‘if by some miracle’ they were to see the defendant
                6     through the open door, the officers would ‘go from there.’” (ECF No. 63 at 3).
                7            Thus, Officers knew only that Jimmy and Cheryl Cormack lived in unit 2048. They
                8     intended to ask questions of the residents, the Cormacks, without any intent of arresting them.
                9     On the other hand, the officers had, at most, an intent to arrest defendant whenever they
              10      happened upon him. They did not know whether—and, at the time, could only suspect that—
              11      defendant was a resident at unit 2048. Thus, the primary purpose of the knock and talk was to
              12      investigate and ask Cormack, not defendant, questions. Whether the ultimate goal of their
              13      investigation was to arrest defendant is immaterial to the propriety of the knock and talk.
              14             Finally, the court finds that Cormack’s consent to enter the apartment resulted only in
              15      defendant’s arrest, it did not produce any evidence that must be suppressed or stricken from the
              16      warrant. Instead, only the knock and talk resulted in the admission that defendant lived there.
              17             Accordingly, the court finds that Detective Stafford’s telephonic warrant application was
              18      proper and that it supports a determination of probable cause. Judge Ferenbach’s R&R is
              19      adopted, and defendant’s motion is denied.
              20      IV.    Conclusion
              21             Accordingly,
              22             IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Judge Ferenbach’s R&R
              23      (ECF No. 58) be, and the same hereby is, ADOPTED.
              24             IT IS FURTHER ORDERED that defendant’s motion to suppress (ECF No. 30) be, and
              25      the same hereby is, DENIED.
              26             DATED May 15, 2020.
              27                                                    __________________________________________
                                                                    UNITED STATES DISTRICT JUDGE
              28

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